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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK

       ------------------------------X
                                     :
       UNITED STATES OF AMERICA, ex  :                  DOCKET NO. 19-CV-6466-EK-CLP
       rel., HYUN YU, ET AL.,        :
                                     :
                   Plaintiffs,       :                     CONSENT ORDER EXTENDING
                                     :                      TIME FOR DEFENDANT, DR.
       v.                            :                   LEONARD MEGGS, TO ANSWER OR
                                     :                     OTHERWISE MOVE AS TO THE
       NUCARE PHARMACY WEST, LLC, ET :                            COMPLAINT
       ALS.,                         :
                                     :
                   Defendants.       :
                                     :
       ------------------------------X

                     IT IS HEREBY STIPULATED AND AGREED by and between the undersigned

      attorneys that the time for Defendant, Dr. Leonard Meggs, to answer or otherwise move as to the

      Amended Complaint is hereby extended to November 10, 2023.


      Pollock Cohen LLP
      Attorneys for Plaintiffs

                     /s/                                                 September 27, 2023
      By:                                                       Dated:
            ADAM POLLOCK, ESQ.


      #14045140.1
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      WILENTZ, GOLDMAN & SPITZER, P.A.
      Attorneys for Defendant Dr. Leonard Meggs


                                                                 September 27, 2023
      By:                                               Dated:
            DARREN M. GELBER, ESQ.




                                       IT IS SO ORDERED:



                                                        Dated:
      HONORABLE CHERYL L. POLLAK,
      Chief United States Magistrate Judge




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      #14045140.1
